          Case 1:05-cr-00048-AWI-BAM Document 211 Filed 01/09/07 Page 1 of 1


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 6                                     IN THE UNITED STATES DISTRICT COURT FOR THE

 7                                           EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                            )
                                                          )
10                                    Plaintiffs,         )       No. CR-05-48-AWI
                                                          )
11                   vs.                                  )       ORDER OF RELEASE
                                                          )
12   ROSENDO COVARRUBIAS IZAZAGA,                         )
                                                          )
13                                         Defendant.     )
                                                          )
14
                     The above named defendant having been sentenced on January
15
     8, 2007 to Time Served,
16
                     IT IS HEREBY ORDERED that the defendant shall be released
17
     forthwith. A certified Judgment and Commitment order to follow.
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19
     IT IS SO ORDERED.
20
     Dated:                 January 8, 2007                    /s/ Anthony W. Ishii
21   0m8i78                                              UNITED STATES DISTRICT JUDGE

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